                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA




 UNITED STATES OF AMERICA                               )
                                                        )       Case No. 1:09-cr-123
 v.                                                     )
                                                        )       COLLIER / LEE
 TAMIA SMITH                                            )
                                                        )


                                              ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the eighty-one count

 Superseding Indictment; (2) accept Defendant’s plea of guilty to the lesser included offense of the

 charge in Count One, that is of conspiracy to manufacture, distribute, and possess with the intent to

 distribute five (5) grams or more of methamphetamine (actual), a Schedule II controlled substance,

 in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B); (3) adjudicate Defendant guilty of the

 lesser included offense of the charge in Count One of the Superseding Indictment, that is of

 conspiracy to manufacture, distribute, and possess with the intent to distribute five (5) grams or more

 of methamphetamine (actual), a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846,

 841(a)(1) and 841(b)(1)(B); (4) defer a decision on whether to accept the plea agreement until

 sentencing; and (5) find Defendant shall remain in custody until sentencing in this matter (Court File

 No. 299). Neither party filed a timely objection to the report and recommendation. After reviewing

 the record, the Court agrees with the magistrate judge’s report and recommendation. Accordingly,

 the Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Court File

 No. 299) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:



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       (1)   Defendant’s motion to withdraw her not guilty plea to Count One of the Superseding

             Indictment is GRANTED;

       (2)   Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

             that is of conspiracy to manufacture, distribute, and possess with the intent to

             distribute five (5) grams or more of methamphetamine (actual), a Schedule II

             controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B)

             is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

             in Count One, that is of conspiracy to manufacture, distribute, and possess with the

             intent to distribute five (5) grams or more of methamphetamine (actual), a Schedule

             II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Thursday, May 27, 2010 at 2:00 p.m. before the

             Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:

                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE




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